                  Case 2:01-cr-00084-MHT-CSC Document 624 Filed 01/23/09 Page 1 of 2
'AO 245D (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet I



                                   UNITED STATES DISTRICT COURT
                                                      Middle District of Alabama

         UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                            V.                                          (For Revocation of Probation or Supervised Release)


             KELTRIC WASHINGTON                                         Case No.         2:01 CR84-MEF- 12
                                                                        USM No           110 16-002
                                                                                                Tiffany B. McCord
                                                                                                 Defendant's Attorney
THE DEFENDANT:
O admitted guilt to violation of condition(s) _________________________of the term of supervision.
X was found in violation of condition(s)             #1 of the violations report    after denial of guilt.
The government moved to dismiss #2 of the violations report:

Violation Number             Nature of Violation                                                              Violation Ended

                             The defendant shall not commit another federal, state or local crime             11/15/2008




       The defendant is sentenced as provided in pages 2 through             2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notity the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4626

Defendant's Year of Birth:        1976

City and State of Defendant's Residence:
                 Montgomery, Alabama



                                                                                    23                       Zo4?
                                                                                                       t' Date
                  Case 2:01-cr-00084-MHT-CSC Document 624 Filed 01/23/09 Page 2 of 2
AO 245D      (Rev. 12107) Judgment in a Criminal Case for Revocations
             Sheet 2— Imprisonment

                                                                                                    Judgment - Page   2   of     2
DEFENDANT:                    KELTRIC WASHINGTON
CASE NUMBER:                  2:01CR84-MEF-12


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of:

Four (4) months.




     X The court makes the following recommendations to the Bureau of Prisons:

          The Court recommends that the Federal Bureau of Prisons designate defendant to a facility where drug treatment is available.



     X The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
              at___________________ 0 am. 0 p.m. on ______
         0 as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         Obefore 2 p.m. on ____________________________
         O as notified by the United States Marshal.
         0 as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                          to

at                                                   with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                             DEPUTY UNITED STATES MARSHAL
